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 4   Attorneys for Plaintiff
 5
                                 UNITED STATES DISTRICT COURT
 6                              SOUTHERN DISTRICT OF NEW YORK

 7
     ERODITA XIOMARA PEREZ SALGUERO )
 8
     individually and on behalf of all other           )
 9   employees similarly situated                      )       FLSA COLLECTIVE ACTION
                                                       )             COMPLAINT
10                                           Plaintiff,)
11                                                     )
                         -v-                           )               COLLECTIVE ACTION
12                                                     )
     CM ENTERPRISES OF ROCKLAND INC )                              UNDER 29 U.S.C.§ 216(b)
13   (Luigi O'Grady's Deli & Catering), AND            )
14   MICHELLE WORAB jointly and severally.
                                          Defendants.
15
16                                        NATURE OF THE ACTION
17          1.      Plaintiff Erodita Xiomara Perez Salguero bring this action under the Fair Labor
18
     Standards Act ("FLSA"), 29 U.S.C. §§ 201 et. seq. in order to remedy Defendants’ wrongful
19
     withholding of her lawfully earned wages compensation. Plaintiff also brings these claims under
20
21   New York Labor Law ("NYLL"), Article 6, §§ 190 et. seq., as well as the supporting New York

22   State Department of Labor Regulations for violations of overtime compensation requirements, and
23
     failure of Defendants to comply with notice and record-keeping requirements. Defendants engaged
24
     in their unlawful conduct pursuant to a corporate policy of minimizing labor costs and denying
25
     employees compensation by knowingly violating the FLSA and NYLL. Defendants' conduct
26
27   extended beyond the Plaintiff to all other similarly situated employees. Plaintiff seeks certification
28
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     of this action as a collective action on behalf of themselves individually and those other similarly
 1
 2   situated employees and former employees of Defendants pursuant to 29 U.S.C. § 216(b).

 3                                               SUMMARY
 4
             2.      Plaintiff Perez was employed by Defendants, CM ENTERPRISES OF
 5
     ROCKLAND INC (Luigi O'Grady's Deli & Catering), AND MICHELLE WORAB (collectively
 6
 7   “Defendants”), to make salads, decorate cookies and do general cleaning for three (3) years.

 8           3.      Throughout the course of her employment, Plaintiff worked (54) fifty-four hours
 9   per week.
10
             4.      As a result of Defendants’ actions, Plaintiff has suffered great hardship and
11
     damages.
12
13                                     JURISDICTION AND VENUE

14   Federal Question Jurisdiction and Supplemental Jurisdiction
15           5.      This Court has original subject matter jurisdiction over this action under 28 U.S.C.
16
     § 1331 because the civil action herein arises under the laws of the United States, namely, the Fair
17
     Labor Standards Act and 29 U.S.C. §201 et seq. Additionally, this Court also has supplemental
18
19   jurisdiction over Plaintiffs’ state law claims under 28 U.S.C. §1367(a)

20   Personal Jurisdiction
21
             6.      This Court may properly maintain personal jurisdiction over Defendants under Rule
22
     4 of the Federal Rules of Civil Procedure because Defendants’ contacts with this state and this
23
24   judicial district are sufficient for exercise of jurisdiction over Defendants so as to comply with

25   traditional notions of fair play and substantial justice.
26   Venue
27
             7.      Venue is proper in the Southern District of New York under 28 U.S.C. §§ 1391 (b)
28
                                                        2
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     (1) and (2) because Defendants reside and conduct business in this judicial district and because a
 1
 2   substantial part of the acts or omissions giving rise to the claims set forth herein occurred in this

 3   judicial district.
 4
                                              Corporate Defendant
 5
             8. CM ENTERPRISES OF ROCKLAND INC. is a domestic professional corporation
 6
 7   organized and existing corporation under the laws of the State of New York.

 8           9. CM ENTERPRISES OF ROCKLAND INC. owns and operates Luigi O'Grady's Deli
 9   & Catering located on 106 N Middletown Rd, Pearl River, NY 10965, USA
10
             10. At all relevant times, CM ENTERPRISES OF ROCKLAND INC. was a covered
11
     employer within the meaning of the FLSA, 29 U.S.C. § 203(d), the NYLL § 190, the N.Y.
12
13   Executive Law § 292(5), and the N.Y. Admin. Code. § 8–102(5).

14           11. At all relevant times, CM ENTERPRISES OF ROCKLAND INC. maintained
15   control, oversight, and direction over Plaintiff, including timekeeping, payroll, and other
16
     employment practices that applied to him.
17
                                          INDIVIDUAL DEFENDANTS
18
19   MICHELLE WORAB

20           12. Upon information and belief, at all relevant times throughout Plaintiff’s employment,
21
     MICHELLE WORAB was the owner, authorized operator, manager, and agent of the Corporate
22
     Defendant.
23
24           13. At all relevant times throughout Plaintiff’s employment, Individual Defendant and

25   Corporate Defendant were joint employers of the Plaintiff, acted in the interest of each other
26   with respect to employees, and had common policies and practices as to wages and hours,
27
     pursuant to 29 CFR § 791.2.
28
                                                       3
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            14. At all relevant times throughout Plaintiffs’ employment, Individual Defendants had
 1
 2   the discretionary power to create and enforce personnel decisions on behalf of the Corporate

 3   Defendant, including but not limited to: hiring and terminating employees; setting and
 4
     authorizing issuance of wages; maintaining employee records; setting Plaintiff’s and other
 5
     employees' schedule; negotiating Plaintiff’s rate of pay; instructing, supervising and training
 6
 7   Plaintiff; and otherwise controlling the terms and conditions for the Plaintiff while she was

 8   employed by Defendants.
 9          15. At all relevant times throughout Plaintiff's employment, Individual Defendants were
10
     actively involved in the day-to-day operations of Corporate Defendant.
11
            16. At all relevant times throughout Plaintiff's employment, Individual Defendants were
12
13   a "covered employer" within the meaning of the FLSA, the NYLL, the HRL, and the NYCHRL,

14   and employed or jointly employed Plaintiff, and is personally liable for the unpaid wages and
15   other damages sought herein, pursuant to 29 U.S.C. § 203(d), NYLL § 2, N.Y. Executive Law §
16
     296(6), and N.Y. Admin. Code § 8-107(6).
17
            17. Upon information and belief, at all relevant times throughout Plaintiff's employment,
18
19   was one of the owners, authorized operators, managers, and agent of the Corporate Defendant.

20          18. At all relevant times throughout Plaintiff’s employment, Individual Defendants and
21
     Corporate Defendant were joint employers of the Plaintiff, acted in the interest of each other
22
     with respect to employees, and had common policies and practices as to wages and hours,
23
24   pursuant to 29 CFR § 791.2.

25          19. At all relevant times throughout Plaintiffs’ employment, Individual Defendants had
26   the discretionary power to create and enforce personnel decisions on behalf of the Corporate
27
     Defendant, including but not limited to: hiring and terminating employees; setting and
28
                                                     4
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     authorizing issuance of wages; maintaining employee records; setting Plaintiff’s and other
 1
 2   employees' schedule; negotiating Plaintiff’s rate of pay; instructing, supervising and training

 3   Plaintiff; and otherwise controlling the terms and conditions for the Plaintiff while she was
 4
     employed by Defendants.
 5
            20. At all relevant times throughout Plaintiff's employment, Individual Defendants were
 6
 7   actively involved in the day-to-day operations of Corporate Defendant.

 8          21. At all relevant times throughout Plaintiff's employment, Individual Defendants were
 9   a "covered employer" within the meaning of the FLSA, the NYLL, the HRL, and the NYCHRL,
10
     and employed or jointly employed Plaintiff, and is personally liable for the unpaid wages and
11
     other damages sought herein, pursuant to 29 U.S.C. § 203(d), NYLL § 2, N.Y. Executive Law §
12
13   296(6), and N.Y. Admin. Code § 8-107(6).

14                                   CORPORATE DEFENDANT
15          22. CM ENTERPRISES OF ROCKLAND INC. (hereinafter "Defendant Corporation")
16
     is a domestic business corporation organized and existing under the laws of the state of New
17
     York. CM ENTERPRISES OF ROCKLAND INC. owns and operates Luigi O'Grady's Deli &
18
19   Catering restaurant located on 106 N Middletown Rd, Pearl River, NY 10965, USA.

20          23. At all relevant times, Defendant Corporation maintained control, oversight, and
21
     direction over the Plaintiffs, including timekeeping, payroll, and other employment practices that
22
     applied to them.
23
24          24. At all relevant times, Defendant Corporation was an employer engaged in interstate

25   commerce and/or the production of goods for commerce, within the meaning of the FLSA, 29
26   U.S.C. §§ 206(a) and 207(a) and employed Plaintiffs within the meaning of the FLSA.
27
            25. At all relevant times, Plaintiff was employed by Defendant Corporation within the
28
                                                      5
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     meaning of the NYLL §§ 2 and 651.
 1
 2                                    FACTUAL ALLEGATIONS

 3   PLAINTIFF ERODITA XIOMARA PEREZ SALGUERO
 4
            26. Plaintiff Perez was employed by Defendants from on or about August 5th, 2019, to
 5
     November 30, 2021. She averaged about (54) fifty-four hours in any given week.
 6
 7          27. Throughout her employment, Plaintiff was hired to make salads, decorate cookies

 8   and do general cleaning.
 9          28. Plaintiff was never paid overtime compensation as required by law.
10
            29. Plaintiff worked from Wednesday to Monday and took a break on Tuesdays.
11
            30. Her schedule was from 8:00 AM to 4:00 PM, (6) six days per week. However, she
12
13   oftentimes worked until 5:00 pm or 6:00 pm.

14          31. From 2019 until 2021, Plaintiff Perez was paid $11 per hour the entire time wh. Her
15   salary was never raised. The lawful salary for Rockland County was $11.10 in 2019, in 2020 it
16
     was $11.80, and it was raised to $12.50 as of December 31, 2020. Plaintiff was told that she
17
     could not earn a minimum wage because she does not speak English.
18
19          32. Throughout the duration of her employment, Plaintiff did not have any supervisory

20   authority, nor did he exercise discretion or independent judgment with respect to matters of
21
     significance.
22
            33. Plaintiff Perez never had the authority to hire or fire employees do payroll or set
23
24   employees’ work hours. That level of work was left to the Individual Defendants.

25   Defendants' Unlawful Corporate Practices
26          34. Defendants required Plaintiff to work and never compensated him for her work at the
27
     lawful overtime rate.
28
                                                      6
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             35. Plaintiff was never provided with any wage statements, time sheets, or other
 1
 2   documents showing the number of hours she worked every week.

 3           36. Plaintiff was not provided with a wage notice at the time of hire or at any point
 4
     thereafter.
 5
             37. Upon information and belief, while Defendants employed Plaintiff, they failed to
 6
 7   post notices explaining the minimum wage rights of employees under the FLSA and NYLL and

 8   failed to inform Plaintiff of such rights.
 9           38. Plaintiff was never provided with a wage notice at the time of hire or at any point
10
     thereafter, noting her hourly wage increases.
11
             39. Upon information and belief, while Defendants employed Plaintiff, they failed to
12
13   post notices explaining the minimum wage rights of employees under the FLSA and NYLL and

14   failed to inform Plaintiffs of such rights.
15           40. Plaintiff has personal knowledge of other employees of Defendants who are
16
     similarly situated and who also worked hours for which they were not paid minimum and wages.
17
                                     COLLECTIVE ACTION ALLEGATIONS
18
19           41. Pursuant to 29 U.S.C. §§ 203, 206, 207, and 216(b), Plaintiff brings her First and

20   Second causes of action as a collective action under the FLSA on behalf of themselves and the
21
     following collective:
22
     All persons employed by Defendants at any time from January 17, 2016 to the present day (the
23
24   “Collective Action Period”) who worked as non-exempt employees of the Defendants (the

25   “Collective Action Members”).
26           42. A collective action appropriate in these circumstances because Plaintiff and the
27
     Collective Action Members are similarly situated, in that they were all subject to Defendants’
28
                                                      7
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     illegal policies of failing to pay wages at or above the statutory minimum.
 1
 2             43. Plaintiff and the Collective Action Members have substantially similar job duties

 3   and are paid pursuant to a similar, if not the same, payment structure.
 4
               44. The claims of Plaintiff stated herein are similar to those of the other employees.
 5
                                         FIRST CAUSE OF ACTION
 6
 7                   Fair Labor Standards Act – Violation of Minimum Wage Requirements
                       (Brought on Behalf of Plaintiff and the Collective Action Members)
 8
               45. Plaintiff, on behalf of themselves and the Collective Action Members, reallege and
 9
10   incorporates by reference all allegations made in all preceding paragraphs as if fully set forth

11   herein.
12             46. Defendants, throughout the majority of their employment period, paid Plaintiff and
13
     the Collective Action Members in amounts below the applicable statutory minimum wage for
14
     their hours worked, in violation of the FLSA, 29 U.S.C. § 206.
15
16             47. Defendants’ unlawful conduct, as described in this Complaint, has been willful and

17   intentional. Defendants were aware, or should have been aware, that the practices described in
18
     this Complaint were unlawful. Accordingly, a three-year statute of limitations applies pursuant
19
     to 29 U.S.C. § 255(a).
20
               48. As a result of the Defendants' violations of the FLSA, Plaintiff, and the Collective
21
22   Action Members have suffered damages by being denied wages at or exceeding the statutory

23   minimum in accordance with the FLSA in amounts to be determined at trial and are thus entitled
24
     to recovery of such amounts, liquidated damages, attorneys' fees, costs, and other compensation
25
     pursuant to 29 U.S.C. § 216 (b).
26
27                                         SECOND CAUSE OF ACTION

28                  New York Labor Law – Violation of Minimum Wage Requirements
                                                         8
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                 49. Plaintiff realleges and incorporates by reference all allegations in all preceding
 1
 2   paragraphs as if fully set forth herein.

 3               50. Defendants, throughout the majority of Plaintiff’s employment, paid Plaintiff less
 4
     than the applicable statutory minimum wage for her hours worked in violation of NYLL § 652
 5
     and the supporting New York State Department of Labor regulations, including 12 N.Y.C.R.R.
 6
 7   Part 146-1.2.

 8               51. Defendants' failure to pay Plaintiff the minimum wage lacked a good faith basis
 9   within the meaning of NYLL § 663.
10
                 52. Due to Defendants’ violations of the NYLL, Plaintiff is entitled to recover from
11
     Defendants her unpaid minimum wages, liquidated damages as provided for by the NYLL,
12
13   reasonable attorneys’ fees, costs, and pre-judgment and post-judgment interest, pursuant to NYLL

14   § 198 (1-a).
15
                                        THIRD CAUSE OF ACTION
16
                                 (Violation of the Overtime Provisions of the NYLL and FLSA)
17               49) Plaintiff repeat and reallegess all paragraphs above as though fully set forth herein.
18
                 50) Defendants, in violation of the FLSA, failed to pay Plaintiff (and the FLSA class
19
     members) overtime compensation at rates of one and one-half times the regular rate of pay for
20
21   each hour worked in excess of forty hours in a workweek, in violation of 29 U.S.C.§ 207 (a)(1).

22               51) Defendants’ failure to pay Plaintiff (and the FLSA class members) overtime
23
     compensation was willful within the meaning of 29 U.S.C.§ 255(a)
24
                 52) Plaintiff (and the FLSA class members) were damaged in an amount to be determined
25
26   at trial.

27                                           FOURTH CAUSE OF ACTION
28
                                                           9
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                    New York Labor Law – Failure to Provide Accurate Wage Statements
 1
 2          53. Plaintiff realleges and incorporates by reference all allegations in all preceding

 3   paragraphs.
 4
            54. Defendants have failed to provide Plaintiff with complete and accurate wage
 5
     statements throughout their employment listing, inter alia, all regular hours of work, her rate of
 6
 7   pay, and the basis of pay, in violation of NYLL § 195(3).

 8          55. Due to Defendants’ violations of the NYLL, Plaintiff is entitled to recover from
 9   Defendants’ statutory damages of Two Hundred and Fifty dollars ($250) per workday that the
10
     violation occurred, up to a maximum of Five Thousand Dollars ($5,000), pursuant to NYLL §
11
     198 (1-d).
12
13                                        FIFTH CAUSE OF ACTION

14                   New York Labor Law – Failure to Provide Notice at Time of Hiring
15          56. Plaintiff realleges and incorporates by reference all allegations in all preceding
16
     paragraphs.
17
            57. Defendants failed to provide Plaintiff at the time of hiring or at any point thereafter,
18
19   a notice containing the rate of pay and basis thereof, whether paid by the hour, shift, day, week,

20   salary, piece, commission, or other; the regular pay day designated by the employer; the physical
21
     address of the employer's main office or principal place of business; the telephone number of the
22
     employer, and anything otherwise required by law, in violation of NYLL § 195(1).
23
24          58. Due to Defendants' violations of the NYLL § 195(1), Plaintiff is entitled to recover

25   from Defendants statutory damages of Fifty dollars ($50) per workday that the violation occurred,
26   up to a maximum of Five Thousand Dollars ($5,000) pursuant to NYLL § 198 (1-b).
27
28
                                                      10
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     -judgment interest, damages for emotional distress, attorney's fees, costs, and other such damages
 1
 2   of an amount to be determined at trial, pursuant to N.Y. Executive Law § 297(9).

 3          59. Individual Defendants are jointly and severally liable for the aforementioned damages,
 4
     since he incited, compelled and coerced the above discriminatory and unlawful conduct pursuant
 5
     to N.Y. Executive Law § 296(6).
 6
 7                                           PRAYER FOR RELIEF

 8          WHEREFORE, Plaintiff seeks the following relief:
 9          A.       Issuance of a declaratory judgment that the practices complained of in this
10
     complaint are unlawful under the Fair Labor Standards Act, 29 U.S.C. §§ 201 et seq., New York
11
     Labor Law, Article 19, §§ 650 et seq., and supporting New York State Department of Labor
12
13   Regulations, the New York Executive Law § 296, and the N.Y. Administrative Code. §§ 8–107;

14          B.       Unpaid minimum wages pay under the FLSA and an additional and equal amount
15   as liquidated damages pursuant to 29 U.S.C. § 216(b) and the supporting United States
16
     Department of Labor Regulations;
17
            C.       Unpaid minimum wages under NYLL, and an additional and equal amount as
18
19   liquidated damages pursuant to NYLL §198(1-a) and § 663(1);

20          D.       Civil penalties of One Thousand One Hundred Dollars ($1,100.00) for each of
21
     Defendants' willful and repeated violations of the FLSA pursuant to 29 U.S.C. § 216(b);
22
            E.       An award of statutory damages for Defendants' failure to provide Plaintiff with a
23
24   wage notice at the time of hiring, or at any point thereafter, pursuant to NYLL § 198 (1-b);

25          F.       An award of statutory damages for Defendants' failure to provide Plaintiff with
26   wage statements, pursuant to NYLL § 198 (1-d);
27
28
                                                     11
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            G.       An award of back wages, front wages, liquidated damages, damages for
 1
 2   emotional distress, and punitive damages for the Defendants’ prohibited retaliation against

 3   Plaintiff pursuant to 29 U.S.C. § 215(3);
 4
            H.       An award of front pay, lost compensation, damages for emotional distress,
 5
     punitive damages, and liquidated damages up to a maximum of Twenty Thousand Dollars
 6
 7   ($20,000.00), for Defendants’ prohibited retaliation against Plaintiff pursuant to NYLL §

 8   215(2)(a);
 9          I.       A civil penalty of a maximum of Ten Thousand Dollars ($10,000.00) for
10
     Defendants’ prohibited retaliation against Plaintiff pursuant to 29 NYLL § 215(1)(b);
11
            J.       A permanent injunction requiring Defendants to pay all statutorily required wages
12
13   pursuant to the FLSA and NYLL;

14          K.       An award of back wages, front wages, pre-judgment interest, damages for
15   emotional distress, and punitive damages for Defendants’ discrimination and sexual harassment
16
     against Plaintiff, pursuant to N.Y. Admin. Code § 8-502(a);
17
            L.       If liquidated damages pursuant to FLSA, 29 U.S.C. § 216(b) are not awarded, an
18
19   award of prejudgment interest pursuant to 28 U.S.C. § 1961;

20          M.       An award of pre-judgment interest of nine per cent per annum (9%) pursuant to
21
     the New York Civil Practice Law and Rules §§ 5001-5004;
22
            N.       An award of post-judgment interest pursuant to 28 U.S.C. § 1961 and/or the New
23
24   York Civil Practice Law and Rules § 5003;

25          O.       An award of attorney's fees, costs, and further expenses up to Fifty Dollars
26   ($50.00), pursuant to 29 U.S.C. § 216(b), NYLL §§ 198 and 663(1), N.Y. Admin. Code § 8-
27
     502(g); and
28
                                                     12
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           P.       Such other relief as this Court shall deem just and proper.
 1
 2
     Dated: New York, New York
 3          January 17, 2022
 4
                           STILLMAN LEGAL PC
 5
 6                                                By:     /s/__
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